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10
                                   UNITED STATES DISTRICT COURT
11
                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12

13    STATE OF CALIFORNIA, et al.,

14            Plaintiffs,

15    v.                                                 Civil Action No. 3:18-cv-01865-RS and
                                                         Civil Action No. 3:18-cv-02279-RS
16    WILBUR L. ROSS, JR., et al.,

17            Defendants.
                                                         ORDER DENYING
18    ____________________________________               MOTION TO STAY PRETRIAL
                                                         DEADLINES, PRETRIAL
19    City of San Jose, et al.,                          CONFERENCE AND TRIAL IN LIGHT
                                                         OF LAPSE OF APPROPRIATIONS
20             Plaintiffs,

21    v.

22    WILBUR L. ROSS, JR., et al.,

23              Defendants.

24

25           Pursuant to 31 U.S.C. § 1342, the United States of America hereby moves for a Stay of all
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     Pretrial Deadlines, the Pretrial Conference scheduled for January 2, 2019 and the bench trial
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     scheduled to begin on January 7, 2019 in the above-captioned cases. The reasons for this motion
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                  Case 3:18-cv-02279-RS Document 127 Filed 12/26/18 Page 2 of 3



 1   are as follows:

 2           1.        At the end of the day on December 21, 2018, the appropriations act that had been
 3   funding the Department of Justice expired and appropriations for the Department lapsed. The
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     same is true for Defendant, the Department of Commerce. It is unknown at this time when
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     Congress will restore funding.
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             2.        Without appropriations, Department of Justice attorneys and employees of the
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     Department of Commerce are prohibited from working on these matters, even on a voluntary basis,
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 9   except in very limited circumstances, including “emergencies involving the safety of human life or

10   the protection of property.” 31 U.S.C. § 1342.

11           3.        Although undersigned counsel are prepared to meet the current pretrial deadlines, as
12   well as, be ready for the January 2 pretrial conference and January 7 trial, due to the Anti-Deficiency
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     Act, it is necessary for counsel to request a stay of all proceedings in these cases until Congress has
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     restored appropriations to the Departments of Justice and Commerce. If this request for a stay is
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     denied, and this Court orders the case to continue, the United States of course will comply with the
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     Court’s order, notwithstanding the lapse in appropriations.
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18           4.        If this motion for a stay is granted, undersigned counsel will notify the Court as soon

19   as Congress has appropriated funds for the Departments of Justice and Commerce. The

20   Government requests that, at that point, all current deadlines for the parties be extended
21   commensurate with the duration of the lapse in appropriations.
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             5.        Opposing counsel stated in the recently filed Pretrial Statement that they object to
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     this motion.
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             Therefore, although we greatly regret any potential disruption caused to the Court and the
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     other litigants, the Government hereby moves for a stay of all proceedings in these cases until
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                   Case 3:18-cv-02279-RS Document 127 Filed 12/26/18 Page 3 of 3



 1   Department of Justice attorneys and Department of Commerce employees are permitted to resume

 2   their usual civil litigation functions.
 3   Date: December 26, 2018                                 Respectfully submitted,
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 4               TES D      TC
               TA                                            JOSEPH H. HUNT
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                                                             JOHN R. GRIFFITHS
 8                                      eeborg               Director, Federal Programs Branch
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 9                                                           CARLOTTA P. WELLS
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               Dated:12/26/18                                Assistant Director
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